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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

AMBERLEY N. CHAMLEE                    )
                                       )
                   Plaintiff           )
                                       ) CIVIL ACTION
             v.                        )
                                       ) FILE NO. 1:14-CV-01136-WSD
BANKERS LIFE & CASUALTY                )
COMPANY                                )
                                       )
                   Defendant.          )

                        STIPULATION OF DISMISSAL

      Now come plaintiff AMBERLEY N. CHAMLEE and defendant,

BANKERS LIFE & CASUALTY COMPANY, being all parties who have

appeared in this action, through their respective attorneys of record, and, pursuant

to Fed. R. Civ. Pr. 41(a)(1)(A)(ii), stipulate that the above-styled action be

dismissed with prejudice; provided, however, that such dismissal shall be without

prejudice as to any claim arising out of acts or omissions or claims for loss of

income arising after November 6, 2014.

Each party shall bear her/its own costs and expenses of litigation.
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      This 23rd day of December, 2014.

                                             s/Heather K. Karrh
                                             Heather K. Karrh
                                             Ga. State Bar No. 408379
                                             Attorney for Plaintiff

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                                             s/Jody C. Campbell
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                                             Ga. State Bar No. 720572
                                             JODY C. CAMPBELL
                                             Ga. State Bar No. 308466
                                             Attorneys for Defendant

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                         CERTIFICATE OF SERVICE

       I certify that the foregoing Stipulation of Dismissal was served upon the
following parties on the 23rd day of December, 2014, by operation of the court’s
electronic filing system. Parties may access this filing through the Court’s system:

Heather K. Karrh
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Fayetteville, GA 30214


                                       RUBIN LUBLIN, LLC

                                       /s/ Jody C. Campbell

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